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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 23-cv-24481-ALTMAN

  MICHAEL SIZEMORE, et al.,

          Plaintiffs,

  v.

  CRISTIANO RONALDO,

        Defendant.
  _________________________________________/

      AMENDED ORDER SETTING TRIAL AND PRE-TRIAL SCHEDULE, REQUIRING
      MEDIATION, AND REFERRING CERTAIN MATTERS TO MAGISTRATE JUDGE

          THIS MATTER is set for trial during the Court’s two-week trial calendar beginning

  February 24, 2025. Counsel for all parties shall also appear at a calendar call at 1:45 p.m. on February

  18, 2025. Unless instructed otherwise by subsequent order, the trial and all other proceedings in this

  case shall be conducted in Courtroom 12-4 at the Wilkie D. Ferguson, Jr. U.S. Courthouse, 400 N.

  Miami Avenue, Miami, Florida 33128. The parties shall adhere to the following schedule:

          March 19, 2024. The parties shall file initial disclosures in accordance with FED. R. CIV. P.
          26(a)(1). We remind the parties that under Local Rule 26.1(b), initial disclosures shall not be
          filed with the Court unless an exception noted in the Local Rules applies.

          March 26, 2024. The parties shall select a mediator in accordance with Local Rule 16.2;
          schedule a time, date, and place for mediation; and jointly file a proposed order scheduling
          mediation in the form specified on the Court’s website, http://www.flsd.uscourts.gov. In
          accordance with the procedures outlined in the CM/ECF Administrative Procedures, the
          proposed order must also be emailed to altman@flsd.uscourts.gov in Word format. If the
          parties cannot agree on a mediator, they shall notify the Clerk in writing as soon as the impasse
          becomes clear, and the Clerk shall designate a certified mediator on a blind rotation basis.
          Counsel for all parties shall familiarize themselves with, and adhere to, all provisions of Local
          Rule 16.2. 1 Within three (3) days of the mediation, the parties shall file a joint mediation



  1
   Pursuant to Local Rule 16.2(e), the appearance of counsel and each party (or the representatives of
  each party with full authority to enter into a full and complete compromise and settlement) is
  mandatory. The Court may impose sanctions against parties and/or counsel who do not comply with
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         report with the Court. The report shall indicate whether the case settled (in full or in part),
         whether it was adjourned, or whether the mediator declared an impasse. If mediation is not
         conducted, the case may be stricken from the trial calendar, and other sanctions may be
         imposed.

         March 26, 2024. For cases that are premised on our diversity jurisdiction, any party that is an
         unincorporated association or partnership must file a notice on the docket, specifying the
         citizenship of each of its members or partners.

         May 6, 2024. The parties shall file all motions to amend pleadings or to join parties.

         June 6, 2024. The parties shall exchange expert witness summaries or reports regarding class
         certification.

         June 20, 2024. The parties shall exchange rebuttal expert witness summaries or reports
         regarding class certification.

         June 31, 2024. The parties shall file any motions for class certification.

         October 1, 2024. The parties shall exchange expert witness summaries or reports regarding
         the merits.

         October 15, 2024. The parties shall exchange rebuttal expert witness summaries or reports
         regarding the merits.

         October 29, 2024. All discovery, including expert discovery, shall be completed. 2

         November 12, 2024. The parties must have completed mediation and filed a mediation
         report.

         November 20, 2024. The parties shall file all pre-trial motions, including motions for
         summary judgment, Daubert motions, and motions for a bench trial. Each party is limited to
         filing one Daubert motion. If a party cannot address all evidentiary issues in a 20-page
         memorandum, it must petition the Court for leave to include additional pages. The parties are
         reminded that Daubert motions must contain the Local Rule 7.1(a)(3) certification. The parties
         are directed to review the Court’s procedure for the filing of summary judgment
         motions (set out below).

         January 20, 2025. The parties shall file any motions in limine (other than Daubert motions).
         Each party is limited to filing one motion in limine, which may not, without leave of Court,



  these attendance or settlement authority requirements. The mediator shall report non-attendance to
  the Court and may recommend the imposition of sanctions for non-attendance.
  2
    The parties may, by agreement or with the consent of the paired Magistrate Judge, extend any
  deadline relating to fact or expert discovery so long as that extension does not interfere with any of
  the other deadlines contained in this Scheduling Order.
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          exceed the page limits allowed by the Rules. The parties are reminded that motions in
          limine must contain the Local Rule 7.1(a)(3) certification.

          February 10, 2025. The parties shall submit a joint pre-trial stipulation, exhibit lists, witness
          lists, deposition designations, and proposed jury instructions and verdict form or proposed
          findings of fact and conclusions of law, as applicable.

          Referral to Magistrate Judge. Pursuant to 28 U.S.C. § 636 and this District’s Magistrate

  Judge Rules, all pretrial non-dispositive and discovery matters are hereby referred to United States

  Magistrate Lisette M. Reid. Furthermore, in accordance with 28 U.S.C. § 636(c)(1), the parties may

  consent to trial and final disposition by Magistrate Judge Reid. The deadline for submitting a

  consent is November 20, 2024.

          Good Faith Conferral. For the purposes of compliance with the good faith conferral

  requirement of Local Rule 7.1(a)(3), the parties are instructed that a single e-mail exchange with

  opposing counsel shall not constitute a good faith effort under the Local Rules. The parties are

  instructed to confer either telephonically or in person.

          Motion to Dismiss. Any motion to dismiss must contain all bases for dismissal, stay,

  abstention, or other similar relief the parties intend to raise. A party may not, for example, file a motion

  to dismiss and then a separate motion for abstention. Nothing in this Order precludes the parties from

  later raising non-waivable jurisdictional defenses.

          Discovery. The parties may stipulate to extend the time to answer interrogatories, produce

  documents, and answer requests for admissions. The parties shall not file with the Court notices or

  motions memorializing any such stipulation unless the stipulation interferes with the deadlines set

  forth above. Stipulations that would so interfere may be entered into only with the Court’s approval.

  See FED. R. CIV. P. 29. In addition to the documents enumerated in Local Rule 26.1(b), the parties shall

  not file notices of deposition with the Court. Strict compliance with the Local Rules is expected,

  particularly with respect to motions practice. See S.D. FLA. L.R. 7.1.
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          Discovery Disputes. The parties shall not file any written discovery motions, including

  motions to compel, for protective order, or for sanctions, without the consent of the Magistrate

  Judge. Counsel must actually confer and engage in reasonable compromise in a genuine effort to

  resolve their discovery disputes before seeking the Court’s intervention. The Court may impose

  sanctions, monetary or otherwise, if it determines that a party has improperly sought or withheld

  discoverable material in bad faith. If, after conferring, the parties are unable to resolve their discovery

  dispute without Court intervention, they shall not file written motions. Rather, the “moving party”

  shall follow Magistrate Judge Reid’s standard discovery procedures. Should the parties have any

  questions regarding the resolution of discovery issues, counsel should contact the chambers of

  Magistrate Judge Reid at (305) 523-5780.

          Summary Judgment. Parties are required to comply with Local Rule 56.1. If a party fails to

  comply with any of the requirements of the Local Rules, the Court may strike the deficient filing and

  require immediate compliance, grant an opposing party relief, or enter any other sanction the Court

  deems appropriate.

          A motion for summary judgment—and the responses in opposition—must be accompanied

  by a Statement of Material Facts. Each material fact must be supported by pincites to the relevant parts

  of record materials, such as depositions, answers to interrogatories, admissions, and affidavits. The

  pincites shall reference specific pages (and, if appropriate, line numbers as well) of the exhibits,

  designate the number and title of each exhibit, and provide the exhibit’s ECF number. When a material

  fact requires specific evidentiary support, a general citation to an exhibit without a pincite (e.g., “Smith

  Affidavit” or “Jones Deposition” or “Exhibit A”) is non-compliant and will be stricken or disregarded.

          All material facts in any party’s Statement of Material Facts may be deemed admitted unless

  controverted by the other party’s Statement of Material Facts, provided that: (i) the Court finds that
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  the material fact at issue is supported by properly cited record evidence; and (ii) no other exception under FED.

  R. CIV. P. 56 applies.

          In addition to filing a Statement of Material Facts, as required under Local Rule 56.1(a), the

  parties shall also file a Joint Statement of Undisputed Facts, which must include all relevant facts about

  which there is no material dispute. Each undisputed fact shall be individually numbered and separated

  by paragraph. This filing is limited to 10 pages and does not otherwise change the parties’ obligation

  to comply with Local Rule 56.1.

          Voir Dire Questions. The Court will require each prospective juror to complete a brief

  written questionnaire prior to the commencement of questioning in the courtroom. Any party may

  submit up to five proposed, case-specific questions to be included in the questionnaire. The proposed

  questions must be filed with the Court at the time of the filing of the joint pretrial stipulation and must

  also be submitted to the Court, in Word format, via e-mail to altman@flsd.uscourts.gov. The Court

  will begin voir dire by questioning the venire individually and as a whole and will permit limited

  attorney-directed voir dire thereafter. The Court will not permit the backstriking of jurors.

          Jury Instructions and Verdict Form. Although they need not agree on each proposed

  instruction, the parties shall submit their proposed jury instructions and verdict form jointly. Where

  the parties do not agree on a proposed instruction, that instruction shall be set forth in bold type.

  Instructions proposed only by a plaintiff shall be underlined. Instructions proposed only by a

  defendant shall be italicized. Every instruction must be supported by citation to authority. The parties

  shall use as a guide the Eleventh Circuit Pattern Jury Instructions for Civil Cases, including the

  directions to counsel contained therein. Any proposed instruction that modifies an instruction from the

  Eleventh Circuit’s Pattern Jury Instructions must both note the modification and delineate the

  modification in redline (or track changes). The parties shall submit, in Word format via e-mail to

  altman@flsd.uscourts.gov, proposed jury instructions and verdict form, including substantive
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  charges and defenses, prior to the calendar call. For instructions on filing proposed documents, please

  see http://www.flsd.uscourts.gov.

          Trial Exhibits. All trial exhibits must be pre-marked. The Plaintiff’s exhibits must be marked

  numerically with the letter “P” as a prefix; the Defendant’s exhibits must be marked numerically with

  the letter “D” as a prefix. The parties must submit a list setting out all exhibits by the date of the

  calendar call. This list must indicate the pre-marked identification label (e.g., P-1 or D-1) and include

  a brief description of the exhibit.

          Settlement Notification. If this matter is settled, counsel shall inform the Court promptly

  via telephone (305-523-5680) and/or e-mail (altman@flsd.uscourts.gov).

          DONE AND ORDERED in the Southern District of Florida on March 19, 2024.




                                                          _________________________________
                                                          ROY K. ALTMAN
                                                          UNITED STATES DISTRICT JUDGE
  cc:     counsel of record
